                    Case: 1:20-cv-03256 Document #: 10 Filed: 06/16/20 Page 1 of 1 PageID #:41
                                                  CERTIFICATE OF SERVICE

UNITED STATES DISTRICT COURT                                                              Case #: 20-cv-3256
NORTHERN DISTRICT OF ILLINOIS

                          Prinzo & Associates, LLC, on behalf of itself and all others similarly situated,
                                                                                                                      Plaintiff
                                                                   vs.

                                                     BMO Harris Bank, N.A, et al.
                                                                                                                    Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was a
citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be witness
therein, and that I served copies of the:

                                                  Complaint, Summons, Summons

              PARTY SERVED:          BMO FINANCIAL CORP.

            PERSON SERVED:           ANGEL MARTINEZ, TELLER
       METHOD OF SERVICE:            Corporate - By leaving copies with the person identified above who stated they were authorized
                                     to accept service.
 DATE & TIME OF DELIVERY:            6/10/2020 at 1:15 PM

ADDRESS, CITY AND STATE:             111 W MONROE STREET, CHICAGO, IL 60603
               DESCRIPTION:          Race: Hispanic Sex: Male               Age: 27
                                     Height: 5'9''  Weight: 160             Hair: Black        Glasses: No


                                                                         I declare under penalties of perjury that the information contained
        Judicial Attorney Services, Inc.                                 herein is true and correct. Executed on 6/11/2020.
        2100 Manchester Rd., Ste 505
        Wheaton, IL 60187
        (630) 221-9007



                                                                         Signature:
                                                                                                 Robert D Fairbanks
                                                                                             Registration No: 117-001119




CLIENT: One Legal LLC                                                                                                             Job #: 438314
FILE #: 14771641
